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a) Homeland
Z) Security

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scenarios. These plans are linked to the NRP in the
context of Incidents of National Significance (defined
on page 4), but remain as stand-alone documents in
that they also provide detailed protocols for responding
to routine incidents that normally are managed. by
Federal agencies without the need, for Department of
Homeland Security (DHS) coordination. The NRP also

incorporates other existing Federal emergency response -

and incident management plans (with appropriate
modifications and revisions) as integrated components,
operational supplements, or supporting tactical plans.
Further details on NRP-supporting plans and documents
are included in section VI (page 60).

Existing Authorities

Nothing in this plan alters or impedes the ability of
Federal, State, local, or tribal departments and agencies
to carry out their specific authorities or perform their
responsibilities under all applicable laws, Executive
orders, and directives. Additionally, nothing in this
plan is intended to impact or impede the ability of any
Federal department or agency head to take an issue of
concern directly to the President, the Assistant to the ©
President for Homeland Security, the Assistant to the
President for National Security Affairs, or any other
member of the President's staff.

Purpose

The purpose of the NRP is to establish a comprehensive,
national, all-hazards approach to domestic incident
management across a spectrum of activities including
prevention, preparedness, response, and recovery.

The NRP incorporates best practices and procedures from
_ various incident management disciplines—homeland
security, emergency management, law enforcement,
firefighting, hazardous materials response, public-works,
public health, emergency medical services, and responder
and recovery worker health and safety—and integrates
them into a unified coordinating structure.

Purpose

“TO establish a 5 comprehensive, national, all-hazards
approach to. domestic incident management across

_a spectrum of activities including prevention,

_ preparedness; response, and recovery.

The NRP provides the framework for Federal
interaction with State, local,-and tribal governments;
the private sector; and NGOs in the context of
domestic incident prevention, preparedness, response,
and recovery activities. It describes capabilities and
resources and establishes responsibilities, operational
processes, and protocols to help protect the Nation
from terrorist attacks and other natural and manmade
hazards; save lives; protect public health, safety,
property, and the environment; and reduce adverse

psychological consequences and disruptions. Finally,
the NRP serves as the foundation for the development
of detailed supplemental plans and procedures to
effectively and efficiently implement Federal incident

. Management activities and assistance in the context of

specific types of incidents.

The NRP using the NIMS, establishes mechanisms to:

“ Maximize the integration of incident-related
prevention, preparedness, response, and recovery
activities: ,

" Improve coordination and integration of Federal,
State, local, tribal, regional, private-sector, and
nongovernmental organization partners;

* Maximize efficient utilization of resources needed
for effective incident management and Critical
Infrastructure/Key Resources (CI/KR) protection
and restoration;

« Improve incident management communications and
increase situational awareness across jurisdictions and
between the public and private sectors;

" Facilitate emergency mutual aid and Federal .
emergency support to State, local, and tribal
governments;

« Facilitate Federal-to-Federal interaction and
emergency support;

" Provide a proactive and integrated Federal response
to catastrophic events; and

« Address linkages to other Federal incident
management and emergency response plans
developed for specific types of incidents or hazards.

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